Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 1 of 15




                                     CCB-20-0285
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 2 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 3 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 4 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 5 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 6 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 7 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 8 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 9 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 10 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 11 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 12 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 13 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 14 of 15
Case 1:20-cr-00285-CCB Document 1 Filed 09/01/20 Page 15 of 15
